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 9                       IN THE UNITED STATES DISTRICT COURT
10
                                  FOR THE DISTRICT OF ARIZONA
11
      United States of America,
12                                                     Case No. 2:18-cr-00422-PHX-DJH
13                         Plaintiff,
                                                     MOTION TO EXONERATE BOND
14    vs.
15
      James Larkin (2), et al.,
16
                           Defendants.
17
18          Pursuant to Fed. R. Crim. P. 46(f), Defendant James Larkin, by and through
19   undersigned counsel, moves to exonerate the $1,000,000.00 secured bond posted by
20   surety Margaret G. Larkin on April 12, 2018. Doc. 92. The Court issued on August 4,
21   2023, an oral order dismissing the superseding indictment as to James Larkin after Mr.
22   Larkin passed away on July 31, 2023. Doc. 1675. A defendant’s death exonerates the
23   sureties from liability on a bond. United States v. Costello, 47 F.2d 684 (6th Cir. 1931);
24   People v. Niccoli, 228 P.2d 827 (Cal. App. 1951). Accordingly, Defendant Larkin
25   requests the Court enter an order directing the Clerk of the Court to release the cash bond
26   to surety Margaret G. Larkin.
27   ...
28   ...
     Case 2:18-cr-00422-DJH Document 1690 Filed 08/09/23 Page 2 of 2




 1        DATED this 9th day of August, 2023.

 2                                        OSBORN MALEDON, P.A.
 3
                                          By    s/ Timothy J. Eckstein
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